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    1                                                                JS-6
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    6                         UNITED STATES DISTRICT COURT

    7                        CENTRAL DISTRICT OF CALIFORNIA

    8   UNITED STATES OF AMERICA,                Case No. 17-4438-DSF (PLAx)
    9
                       Plaintiff,
   10
                v.                               FINAL JUDGMENT OF FORFEITURE
   11
        CERTAIN RIGHTS TO AND INTERESTS
   12   IN THE VICEROY HOTEL GROUP,

   13                  Defendant.
   14

   15           Upon consideration of the Unopposed Application for Entry of

   16   Final Judgment of Forfeiture (the “Application”) filed by Plaintiff

   17   United States of America (the “Government”) seeking entry of a

   18   Final Judgment of Forfeiture, for good cause the Court hereby finds

   19   and orders as follows:

   20                                    FINDINGS

   21           A.   On June 15, 2017, the Government initiated this civil

   22   forfeiture action (the “Viceroy Action”) alleging that certain

   23   rights to and interests in the Viceroy Hotel Group which are more

   24   fully    described   in   Attachment A   to   the   Government’s   Verified

   25   Complaint for Forfeiture In Rem (the “Defendant Asset”) is subject

   26   to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A) and (C) [Dkt.

   27   No. 1-1].

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    1           B.        The Government gave and published notice of the Viceroy

    2   Action       as    required   by   law,   including   Supplemental   Rule G    for

    3   Admiralty or Maritime Claims and Asset Forfeiture Actions, the

    4   Federal Rules of Civil Procedure and the Local Rules of this Court.

    5           C.        On October 11, 2017, JW Hospitality (VHG Intl) Ltd. and

    6   JW Hospitality (VHG US) LLC (collectively “JW Hospitality”) filed

    7   a claim to the Defendant Asset (Dkt. No. 26).

    8           D.        On November 4, 2019, the Court entered a Consent Judgment

    9   of Forfeiture (“Consent Judgment”) in the Viceroy Action as to JW

   10   Hospitality, pursuant to a stipulated request by the Government

   11   and     JW    Hospitality.         The    Consent   Judgment   disposed   of    JW

   12   Hospitality’s claim to the Defendant Asset in its entirety. (Dkt.

   13   No. 97).

   14           E.        On April 30, 2020, the Government and potential claimant

   15   Mamoura Diversified Global Holding PJSC f/k/a Mubadala Development

   16   Company PJSC (“Mamoura”) jointly filed a Stipulation and Request
   17   for Order Authorizing Interlocutory Sale of Defendant Asset (the
   18   “Interlocutory Sale Stipulation”) in the Viceroy Action (Dkt. No.
   19   129).        The Court had previously granted the Government’s and
   20   Mamoura’s jointly-filed Stipulation to extend the time for Mamoura
   21   to file a claim to May 4, 2020.             (Dkt. No. 128).
   22           F.        On April 30, 2020, the Court entered an Order Authorizing
   23   Interlocutory Sale of Defendant Asset in the Viceroy Action (the
   24   “Interlocutory Sale Order”), pursuant to which the Court: (i) found
   25   that an interlocutory sale of the Defendant Asset was necessary to
   26   prevent the risk of further diminishment in the value thereof posed
   27   by the ongoing Viceroy Action; (ii) found that the Defendant Asset
   28   should be sold via an interlocutory sale, with the proceeds of such

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    1   sale substituted as the defendant res in the Viceroy Action; (iii)

    2   found that the procedures set forth in 28 U.S.C. §§ 2001 and 2002,

    3   which statutes govern interlocutory sales of property pending

    4   forfeiture, were not reasonable, appropriate or likely to yield

    5   the highest price for the Defendant Asset; and (iv) approved the

    6   proposed interlocutory sale of the Defendant Asset to Mamoura’s

    7   affiliates (collectively, the “Purchaser”) for $3,200,000.00 (the

    8   “Sale”) pursuant to the terms and procedures more specifically set

    9   forth in that certain Transfer of Interests Agreement attached to

   10   the Interlocutory Sale Stipulation (the “Sale Procedures”) (Dkt.

   11   No. 131).

   12        G.     On   May     15,    2020,    the     Government    reported    that

   13   $3,200,000.00    of    Sale     proceeds      (the   “Substitute   Res”)   were

   14   deposited into the United States Marshal Service’s Seized Asset

   15   Deposit Fund (the “SADF”) (Dkt. No. 132).

   16        H.     Pursuant to paragraph 11 of the Interlocutory Sale Order,

   17   the Substitute Res currently remains in the SADF pending the

   18   resolution of the Viceroy Action.

   19        I.     No other claims to the Defendant Asset or Substitute Res

   20   were filed and the time for filing claims has expired.

   21        J.     No   party    has     objected      to    the   Application,   the

   22   disbursement of the Substitute Res, or the closure and conclusion

   23   of the Viceroy Action.

   24        K.     The Court finds, based upon the Application and the

   25   record of these proceedings, the Government has demonstrated good

   26   cause to grant the Application and approve the relief sought

   27   therein.

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    1            IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

    2          1.    The Application is granted.

    3          2.    All rights, titles, and interests of JW Hospitality and

    4   all other potential claimants in and/or to the Substitute Res are

    5   hereby      forfeited    to    the    Government      pursuant    to   18   U.S.C.

    6   § 981(a)(1)(A)     and    (C),    the   applicable      Supplemental    Rules for

    7   Admiralty or Maritime Claims and Asset Forfeiture Actions, the

    8   applicable Federal Rules of Civil Procedure, and the applicable

    9   Local Rules of this Court.

   10          3.     The United States Marshals Service shall dispose of the

   11   Substitute Res in accordance with applicable law, less any fees

   12   and costs unpaid related to the Sale.

   13          4.    If any or all of the provisions of this Final Judgment

   14   of Forfeiture are hereafter reversed, modified or vacated by a

   15   subsequent order and/or judgment of this Court or any other court,

   16   such   reversal,      modification      or    vacatur   shall    not   affect   the

   17   validity and enforceability of any transfer and sale contemplated

   18   hereby or obligation or right granted pursuant to the terms of this

   19   Final Judgment of Forfeiture (unless stayed pending appeal), and

   20   notwithstanding any reversal, modification or vacatur, shall be

   21   governed in all respects by this Court’s prior orders approving

   22   the interlocutory sale.

   23          5.    The Viceroy Action is hereby completed and closed.

   24          6.    This Final Judgment of Forfeiture shall be effective and

   25   enforceable immediately upon entry and its provisions shall be

   26   self-executing.

   27          7.    The Court shall retain jurisdiction with respect to all

   28   matters     arising     from     or   related    to     the   implementation    or

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